          Entered on Docket August 27, 2018                  Below is the Order of the Court.




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                                                             Timothy W. Dore
 2                                                           U.S. Bankruptcy Court
                                                             (Dated as of Entered on Docket date above)
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     TIMOTHY W. DORE                                                                        Chapter 7
 9   United States Bankruptcy Judge
     700 Stewart Street, Room 8106
10   Seattle, WA 98101
     (206) 370-5300
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                                 UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF WASHINGTON AT SEATTLE
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       In re:
                                                           Case No. 15-16254-TWD
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       Jason Wesley Davis,
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                                                           ORDER DENYING DEBTOR’S MOTION TO
                                            Debtor.        DISMISS
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                THIS MATTER came before the Court on the Debtor’s motion to dismiss [Docket No. 105]
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     (“Motion”). The Court has reviewed and considered the Motion, any and all evidence submitted in
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     support of and in opposition to the Motion, the records and files in this case, and the oral argument at
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     the July 20, 2018 and August 24, 2018 hearings on the Motion. At the conclusion of the hearing on the
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     Motion on August 24, 2018 the Court gave an oral ruling, which constitutes the Court’s findings of fact
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     ORDER DENYING DEBTOR’S MOTION TO DISMISS - 1
     Case 15-16254-TWD           Doc 126    Filed 08/27/18     Ent. 08/27/18 11:35:03           Pg. 1 of 2
 1   and conclusions of law pursuant to Federal Rule of Bankruptcy Procedure 7052 and Federal Rule of

 2   Civil Procedure 52(a).

 3          Now, therefore, it is hereby ORDERED that the Motion is denied.

 4                                           /// End of Order ///

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     ORDER DENYING DEBTOR’S MOTION TO DISMISS - 2
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